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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Abbott Laboratories
                               Plaintiff,
v.                                                  Case No.: 1:18−cv−06907
                                                    Honorable Charles P. Kocoras
Blayne Fleck
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, October 18, 2018:


        MINUTE entry before the Honorable Charles P. Kocoras: Motion hearing held.
Abbott Laboratories' motion for temporary restraining order and preliminary injunction
[3] is entered and continued for the reasons stated in open court. Motions for Leave to
Appear Por Hac Vice [12] and [13] are granted. Status hearing set for 10/30/2018 at 9:30
a.m. Mailed notice(vcf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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